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13                                  UNITED STATES DISTRICT COURT

14                                 NORTHERN DISTRICT OF CALIFORNIA

15

16   IN RE: ROUNDUP PRODUCTS                          )   MDL No. 2741
     LIABILITY LITIGATION                             )
17                                                    )   Case No. 3:16-md-02741-VC
                                                      )
18   THIS DOCUMENT RELATES TO:                        )   DECLARATION OF MARTIN CALHOUN
                                                      )   IN SUPPORT OF DEFENDANT
19   Jeffrey Baum, et al. v. Monsanto Co., et al.,    )   MONSANTO COMPANY’S OPPOSITION
     Case No. 3:19-cv-01018-VC                        )   TO PLAINTIFFS’ MOTION TO REMAND
20                                                    )
                                                      )   Date: May 22, 2019
21                                                    )   Time: 10:00 a.m.
                                                          Courtroom: 4
22

23   I, Martin Calhoun, declare:
24           1.     I am over the age of eighteen. I make the statements set forth herein based on my
25   personal knowledge. If I were called to testify, I could and would be competent to testify under
26   oath.
27           2.     I am a partner at Hollingsworth LLP. I am one of the attorneys representing
28
                                                      1
                     CALHOUN DECL. ISO MONSANTO’S OPP’N TO PLS.’ MOT. TO REMAND
                                   3:16-md-2741-VC & 3:19-cv-01018-VC
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              EXHIBIT 1
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1                       SUPERIOR COURT OF CALIFORNIA

2                              COUNTY OF ALAMEDA

3         BEFORE THE HONORABLE WINIFRED SMITH, JUDGE PRESIDING
4                            DEPARTMENT NUMBER 21

5                                  ---oOo---

6       COORDINATION PROCEEDING       )
        SPECIAL TITLE (RULE 3.550)    )
7                                     )
        ROUNDUP PRODUCTS CASE         ) JCCP No. 4953
8                                     )
        _____________________________ )
9                                     )
        THIS TRANSCRIPT ALSO RELATES )
10      TO:                           )
                                      )
11      Pilliod, et al.               ) Case No. RG17862702
              vs.                     )
12      Monsanto Company, et al.      ) Pages 1 - 34
        ______________________________)
13

14

15                  Reporter's Transcript of Proceedings

16                         Friday, January 25, 2019

17

18
        Reported by: Kelly L. Shainline, CSR No. 13476, RPR, CRR
19                   Court Reporter

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15             (APPEARANCES CONTINUED ON FOLLOWING PAGE)
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1       APPEARANCES:    (CONTINUED)

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        ((Multiple other counsel also present, both in person
17      and via telephone through CourtConnect, as reflected in
        the minutes.)
18
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1       Friday, January 25, 2019                             11:07 a.m.

2                   THE COURT:    Good morning, counsel.     Sorry for

3       the delay.
4                   One of the things we'll be talking about today

5       is I'm going to set you on a special day other than

6       Friday because I have law and motion -- three law and
7       motion calendars on Friday.       So I will pick a day, the

8       third Thursday, the fourth Wednesday, something, monthly

9       for our case management conferences so that we will not
10      have to compete with anything else.        So this will be a

11      one-time occurrence, and I thank you for your patience.

12                  So let's just get to it.
13                  Calling the Roundup cases, and I will take

14      appearances from counsel at the table only unless you

15      participate in the conversation.       Please state your
16      appearance, if you do so, starting with the plaintiff's

17      counsel.

18                  MR. PETE MILLER:    Good morning, Your Honor.
19      Pete Miller from Miller DellaFera.

20                  MR. MIKE MILLER:    And good morning.      Michael

21      Miller from the Miller firm, Your Honor.
22                  MR. WISNER:    Good morning, Your Honor.      Brent

23      Wisner from Baum Hedlund.      And I apologize for the noise

24      we were making outside.
25                  THE COURT:    It's okay.

                                                                         4
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1       give Your Honor some background because I think this is

2       what you're sort of needing the information about, and

3       we've been compiling this information all week and it's
4       not finalized so this might be off by a little bit.

5                   THE COURT:    Okay.

6                   MR. WISNER:    But what I know is there's
7       478 plaintiffs in the JCCP.       And with -- oh, in the JCCP

8       or on their way to the JCCP, but there's 478 plaintiffs

9       that will be in it eventually.       And that, you know, as
10      of right now, and that might obviously grow as more

11      cases get filed.

12                  They are contained within 56 complaints.        So
13      that means the average is about eight to ten plaintiffs

14      per complaint.     There are some that have more and

15      there's some that are individually filed, but that's
16      sort of the average.      Okay.

17                  With the Court's order, if we were to go into

18      effect tomorrow, let's say, and we have trial in MDL in
19      February and another one, obviously the Pilliods in

20      March, I'd -- my firm actually -- Baum Hedlund, we

21      represent a significant portion of those cases in the
22      California case.     We'd have to find a way to get all

23      those complaints filed right now essentially,

24      individual.    And that would be a pretty large investment
25      of human resources as well as financial resources, for

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1       example, filing fees, expert fees, and all the filing

2       add-on statements that we'd have to do.         It is a large

3       administrative task.
4                   And I'm not saying that that's why the Court

5       shouldn't do it.     I'm just saying it is a large project

6       that would fall squarely in the middle of -- I mean, I
7       haven't slept more than three days this week.          I've been

8       taking depositions all week in Missouri of Monsanto

9       employees.    We're traveling all over the state doing
10      treater depositions.      We're running around with our

11      heads cut off, and this would just be -- this might

12      break my back, is what I'm saying, at this point.
13                  The other issue is what we were doing with

14      Judge Petrou is -- and we kind of reached a detente on

15      this issue -- was that we were sort of saying, well,
16      we'll let whoever ends up trying that specific case when

17      it gets remanded decide what to do with the bundles.

18      All right.    So basically punting the issue to when it
19      gets remanded.

20                  Because most of these cases are actually filed

21      in San Francisco, the vast majority.        And they're filed
22      in mostly 10-plaintiff bundles is what they are.          That's

23      the majority.    Not all of them.     Obviously there's some

24      people who've done things differently, but that's
25      generally the framework.

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1                   And the reason why they're filed in

2       San Francisco is because the co-defendant, Wilbur Ellis,

3       is based there.     So that's why there's venue and
4       jurisdiction in San Francisco Superior Court.          And I'm

5       just giving you all this background just to sort of

6       understand where we're coming from.
7                   And so obviously moving forward, we are a

8       thousand percent onboard with individual plaintiff

9       complaints.     You know what I mean?     I understand that's
10      how the Court prefers it.       No problem.    But going back

11      retroactively and addressing all that right now would be

12      a quite expensive and daunting task.         And we would ask
13      one of two options.

14                  The first option is that the Court not order

15      that they're dismissed and we have to refile them, that
16      they just sort of stay the way they are.         We have a

17      spreadsheet that we're putting together that will allow

18      the Court to properly manage all the -- the actual named
19      plaintiffs within the bundled complaints.         And I have a

20      preliminary draft in my e-mail.        I haven't had a chance

21      to really digest it and make sure it's good to go and
22      make sure the defendants agree, but we're in the

23      process, we're very close to there.

24                  So you'd still be able to manage the case
25      without having to do this procedure.

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1                   Alternatively, if the Court really does want

2       this done right away no matter what, we'd ask that the

3       Court to give us at least six months to do it.
4                   And the reason for that is we have these

5       trials and also it is a significant financial

6       investment.
7                   In addition to all of that as well, we have to

8       have conversations with our clients.         And, you know,

9       300 conversations.      And obviously I can't do all of
10      those conversations.      I have people at my firm who will

11      help.    But there's conversation about where we file and

12      the risks and benefits that are different from when we
13      pitched the idea of filing them in 10-plaintiff

14      complaints.     So the circumstances have slightly changed.

15                  So that just requires some time.        And we don't
16      want to be in a position where they're dismissed with a

17      gun to our head and have to get filed because we don't

18      want to worry about tolling issues or whatever as we
19      move forward.     And we also want to make sure they're

20      available for the bellwether process.

21                  So with all those considerations, that's sort
22      of what we're asking the Court is to hold off on that

23      aspect of it and allow us to either deal with it if

24      and/or when they get remanded.
25                  I would -- the one last point, Your Honor, is

                                                                          13
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1       State of California                      )
                                                 )
2       County of Alameda                        )

3
4             I, Kelly L. Shainline, Court Reporter at the

5       Superior Court of California, County of Alameda, do

6       hereby certify:
7             That I was present at the time of the above

8       proceedings;

9             That I took down in machine shorthand notes all
10      proceedings had and testimony given;

11            That I thereafter transcribed said shorthand notes

12      with the aid of a computer;
13            That the above and foregoing is a full, true, and

14      correct transcription of said shorthand notes, and a

15      full, true and correct transcript of all proceedings had
16      and testimony taken;

17            That I am not a party to the action or related to a

18      party or counsel;
19            That I have no financial or other interest in the

20      outcome of the action.

21      Dated:    January 25, 2019
22

23                                ________________________________

24                               Kelly L. Shainline, CSR No. 13476
25

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